Case 1:08-cr-20574-JAL Document 105 Entered on FLSD Docket 07/30/2008 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 08-20574-CR-LENARD (s)

UNITED STATES OF AMERICA,

ARRAIGNMENT INFORMATION SHEET

VS.

Jail No : BOND
DAVID PACKOUZ,

Defendant. Language:_ENGLISH
/

 

The above-named Defendant appeared before Magistrate Judge
PETER R. PALERMO. The defendant was arraigned and a plea of
not guilty was entered. Defendant and court-
appointed/retained counsel of record will be noticed for trial
by the District Judge assiqned to this case. The following
information is current as of this date:

 

 

 

 

 

 

 

 

 

Defendant: Address: CYX% Oo certs
Tel. No:
Defense Counsel: Name : KENNETH J. KUKEC
Address:
Tel. No:
Bond Set/Continued: $50,000 10% ¢& $500,000 PSB
Dated this_29TH day of_JULY , 2007.

Ce

CLARENCE MADDOX, CLERK

BY NANCY J. FLOOD
Deputy Clerk

U.S. Attorney TAPE NO.08-PRP- \
Defense Counsel DIGITAL START NO.
Pretrial Services

Clerk for Judge |™~ IR?
